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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

                                                   )
  FIX THE COURT,                                   )
                                                   )
                      Plaintiff,                   )
                                                   )
  v.                                               )   Case No. 18-2091 (TJK)
                                                   )
  U.S. DEPARTMENT OF JUSTICE,                      )
                                                   )
                    Defendant.                     )
                                                   )

                                     JOINT STATUS REPORT

          Plaintiff Fix the Court and Defendant U.S. Department of Justice (“DOJ”) respectfully

 submit this status report in the above-captioned matter, pursuant to the Court’s March 5, 2019

 Minute Order.

       1. The initial processing of the electronic remaining, lower priority records will be

          completed by May 31, 2019. This does not include the time required for consultations.

          DOJ will send potentially responsive records to relevant stakeholders for consultation on

          a rolling basis.

       2. The initial processing of the potentially responsive paper documents will be completed by

          June 28, 2019. This does not include the time required for consultations.



Dated: April 5, 2019
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Respectfully submitted,



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